               Case 2:22-mj-30211-DUTY ECF No. 3, PageID.15 Filed 05/04/22 Page 1 of 1
(EDMI 1/) Order 5HJDUGLQJ%UDG\0DWHULDOV



                               UNITED STATES DISTRICT COURT
                                                        for the
                                              Eastern District of Michigan

                  United States of America                 )
                             v.                            )      Case No. 22-30211
                                                           )
                        DEON HAYES
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                                     ORDER 5(*$5',1*%5$'<0$7(5,$/6

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Date: May 4, 2022                                          s/David R. Grand
                                                          Judicial Officer’s Signature


                                                           David R. Grand, U.S. Magistrate Judge
                                                          Printed name and title
